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                               IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE




TIMOTHY HAWKINS, an individual,                    Case No. C20-6093RSL

                  Plaintiff,
                                                   ORDER GRANTING PLAINTIFF’S
         v.                                        STIPULATED MOTION TO FILE
                                                   SECOND AMEND COMPLAINT
CORE HEALTH & FITNESS, LLC, a Utah
Corporation

         Defendant.


         The Court, having considered this unopposed motion on file herein and being fully

advised; now therefore IT IS HEREBY ORDERED as follows:

         Plaintiff Timothy Hawkins (“Hawkins”) is permitted to file a Second Amended

Complaint against Defendant Core Health and Fitness, LLC (“Core”).


         Dated this 26th day of March, 2021.



                                             Robert S. Lasnik
                                             United States District Judge




Page 1        -                                                        BUCHANAN ANGELI ALTSCHUL & SULLIVAN LLP
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